The Honorable Matt Blunt Missouri Secretary of State James C. Kirkpatrick State Information Center 600 West Main Street Jefferson City, MO  65101
Dear Secretary Blunt:
On February 20, 2004, you submitted to us a summary statement for the constitutional initiative petition relating to highways and transportation (version 2).  The summary statement, prepared pursuant to Section 116.334, RSMo 2000, is as follows:
  Shall the Missouri Constitution be amended to require that all revenues from the existing motor vehicle fuel tax (less collection costs) be used only for state and local highways, roads and bridges, and also require that vehicle taxes and fees paid by highway users be used only for constructing and maintaining the state highway system (less collection costs, refunds and highway patrol law enforcement costs), except that up to half of such vehicle taxes and fees, phased in over four years, will go into a state road bond fund to repay state highway bonds?
Pursuant to Section 116.334, we approve the legal content and form of the proposed statement.  Since our review of the statement is mandated by statute, no action we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Sincerely,
                               JEREMIAH W. (JAY) NIXON Attorney General